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               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF OREGON


SOLAR NATION, INC., a                         3:12-CV-01199-BR
Delaware corporation,
                                              TEMPORARY RESTRAINING
          Plaintiff,                          ORDER

v.

SOLAR JONES, INC . , a Nevada
corporation; JONATHAN KERSEY,
a Nevada resident; JEREMY
TROUSDALE, a California
resident; RON KIRKPATRICK, an
Oklahoma resident; and
RICHARD HILBURN, a Montana
resident,

         Defendants.


DAYNA E. UNDERHILL
Hinshaw & Culbertson, LLP
1000 S.W. Broadway
Suite 1250
Portland, OR 97205-3078
503-243-3243

         Attorneys for Plaintiff



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BROWN, Judge.

     Th Ex Parte Application and Motion for Temporary Restraining

Order (#2) of Plaintiff, Solar Nation, Inc.            ("SN''), together with

its supporting Declarations (#3, #4, #5), Memorandum (#6), and

other papers came before the Court for ex parte consideration on

July 5, 2012, at 3:00 p.m.         Plaintiff appeared through counsel

Dayna E. Underhill; Defendants did not appear and Plaintiff did

not provide Defendants with advance notice of this Motion.

     Pursuant to Fed. R. Civ. P. 65(b) (1) and (2) and based on

the record, including the Certification of Plaintiff's counsel

and her representations to the Court during the hearing on this

Motion, the Court finds:

     1.     There is a present risk of immediate and irreparable

injury, loss, or damage to Plaintiff (i.e., before Defendants may

be heard in opposition to this Motion) because Defendants have

sole possession of electronic data and information (i.e., the

"Protected Informationn described in Plaintiff's pleadings) and

Defendants are excluding Plaintiff from accessing and protecting

that which is Plaintiff's exclusive property;

     2.      Plaintiff should not be required to give Defendants

notice and an opportunity to be heard before this Temporary

Restraining Order issues because, on information and belief,

Plaintiff's counsel asserts Defendants may be taking action

within the next 24 hours that may damage the integrity of the


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Protected Information and there is insufficient time to provide

Defendants notice of the hearing and opportunity to be heard

before the risk of that injury, loss or damage materializes;

     3.     Although the record reflects Defendants Kersey and

Trousdale waived as part of their agreements with Plaintiff the

right to require security for any temporary restraining order,

the Court nevertheless concludes security should be required for

the benefit of all Defendants in this matter to address the risks

identified in Fed. R. Civ. P. 65(c).           Under the circumstances and

based on the argument of Plaintiff's counsel at the hearing, the

Court concludes security in the total amount of $5,000.00 is

required and Plaintiff shall post security in that sum as soon as

practicable;

     4.     There is substantial likelihood that Plaintiff will

succeed on the merits of its claims against Defendants under the

Oregon Trade Secrets Act and for conversion and trespass to

chattels;

     5.     Absent the issuance of a temporary restraining order,

Plaintiff is likely to suffer immediate and irreparable injury,

and such injury substantially outweighs any injury to Defendants

that may result from granting this motion; and

     6.     This Order serves, and is not contrary to, the public

interest.

     Accordingly, the Court GRANTS Plaintiff's Motion for


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Temporary Restraining Order as follows:

     Defendants individually and all of their affiliates,

officers, directors, shareholders, employees, whether acting

directly or indirectly, or in concert or active participation

with Defendants, are and shall be:

     1.     TEMPORARILY RESTRAINED and ENJOINED from indirectly or

directly altering, destroying, deleting, overwriting, defacing,

hiding, or otherwise changing any Protected Information in their

possession or control;

     2.     TEMPORARILY RESTRAINED and ENJOINED from directly or

indirectly altering, destroying, erasing, deleting, overwriting,

or otherwise changing each and every Computer Devices and Email

Systems which contains Protected Information;

     3.     TEMPORARILY REQUIRED to take all reasonable means to

preserve the Computer Devices and Email Systems containing

Protected Information, including without limitation emails,

attachments, electronic documents, current and archived

electronic logs, metadata, and directories; and

     4.     TEMPORARILY RESTRAINED and ENJOINED from directly or

indirectly accessing, using, disclosing or making available to

any person or entity (including any person employed in any

capacity by Defendant Solar Jones, Inc.) any Protected

Information until a Motion for Preliminary Injunction is heard

and decided upon by this Court;


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     5.      REQUIRED to turn over the following Specified Devices

to Plaintiffs qualified computer forensic examiner ("Examiner"):

     •      Laptops used by Defendants in the course and scope of

     their employment with Solar Nation;

     •      a D-Link or other similar external, portable hard drive

     upon which Defendant Trousdale caused or directed to be

     placed SN Protected Information on or about January 2012;

     •      Cellular telephones, including smart phones, used by

     Defendants in the course and scope of their employment with

     SN, including such devices as were used to access SN email;

     •      two hard drives left in the SN office of Defendant

     Kersey at the end of his employment in February 2012.

The Examiner is to create a standard "archive image"               (copy) of

the Specified Devices for preservation and forensic examination.

The turnover shall no later than three (3) calendar days from the

date of service of this Order.         Examiner shall document the

archiving process, with the documentation therefrom (but not the

image) to be provided for evidentiary purposes to both Defendants

and Plaintiff.     A copy of the archive image shall be provided to

Plaintiff only.      Examiner shall maintain custody of the archive

image and related documentation and produce it for inspection to

either party at Examiner's place of business upon reasonable

notice and agreement by all Parties, or as the Court may order.

Upon completion of the imaging and examination, the Specified


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Devices shall be returned to the Defendants, which Specified

Devices shall remain subject to the restrictions set forth in

this Order.     Examiner will dispose of the archive image as may be

later mutually agreed upon by the Parties or by Court Order;

     6.     REQUIRED to conduct a reasonable search of all email or

other electronic messaging accounts in their possession or

control which may contain, or contained, Protected Information

and state in writing that a reasonable search was conducted and

for each account searched state the:           a) email address;

b) account holder name; c) account holder; d) whether the account

contains or contained Protected Information. Defendants shall

provide the written statement to Plaintiff within three (3)

calendar days of service of this Order.

            For purposes of this Temporary Restraining Order,

"Protected Information" is defined as any information regarding

the following:

            SN's past and present sales activity and data;
            potential leads on new customers, sales and products;
            current customer and sales contact information; product
            pricing data; order data; discussions and/or
            negotiations with past, present and potential
            customers; past, existing and future project
            information; and proprietary product design
            information.

            "Protected Information" also includes the following SN
            and PK Solar. Inc. information:

            (i)   information, formulae, compilations, software
            programs (including object codes and source codes),
            devices, methods, techniques, drawings, plans,
            experimental and research work, inventions, patterns,

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          processes and know-how, whether or not patentable, and
          whether or not at a commercial stage related to SN and
          PK Solar, Inc.'s business or any subsidiary thereof;

          (ii) the names, buying habits or practices of SN's and
          PK Solar's customers;

          (iii) SN's and PK Solar's marketing methods and related
          data;

          (iv) the names of SN's and PK Solar's vendors and
          suppliers;

          (v)   SN's and PK Solar's costs of materials;

          (vi) the prices SN or PK Solar obtains or has obtained
          or at which SN's and PK Solar's sells (sic) or has sold
          its products or services;

          (vii) lists or other written records used in SN's or PK
          Solar's Business;

          (viii) compensation paid to employees and other terms
          of employment; and

          (ix)   any other confidential information of, about or
          concerning the SN's or PK Solar's Business, its manner
          of operation, or other confidential data of any kind,
          nature, or description.

     For purposes of this Temporary Restraining Order, "Computer

Devices or Email Systems" is defined as follows:

          All computers and computer media in the Defendants'
          possession, custody, or control which were used by
          Defendants during the course and scope of their
          employment with plaintiff Solar Nation, Inc., including
          external hard drives and other similar data storage
          devices, USB devices; laptops, ipads and cell phones;
          all similar devices to those specifically stated; This
          definition also applies to Defendants' Computers and
          Devices to which the defined information was
          transferred.

          Email Systems means all email accounts to which any
          Protected Information was transferred or stored at any
          time.

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     IT IS FURTHER ORDERED:

     Plaintiff shall post security in the amount of $5,000.00 as

soon as practicable; and

     This Order shall expire of its own terms at the conclusion

of a hearing on the 19th day of July, 2012 8:30 a.m. before the

undersigned judicial officer, unless further extended by Order of

this Court.

     IT IS SO ORDERED this 5th day of July, 2010, at 4:00 p.m.




                                        AN~
                                        United States District Judge




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